     Case 3:22-cv-01101-WHA Document 123-17 Filed 02/14/23 Page 1 of 2

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 7
                                    UNITED STATES DISTRICT COURT
 8                                 NORTHERN DISTRICT OF CALIFORNIA

 9
                                       SAN FRANSISCO DIVISION
10
11                                                       Case No. 3:22-cv-01101-WHA
      DAWN DANGAARD, et al.,
12
                     Plaintiffs,                         DECLARATION OF ALANA EVANS IN
13                                                       SUPPORT OF PLAINTIFFS’ RESPONSE
              v.                                         TO ORDER TO SHOW CAUSE
14                                                       REGARDING JURISDICTION OVER
      INSTAGRAM, LLC, et al.,
                                                         FENIX DEFENDANTS
15
                     Defendants.
16
                                                         Judge: Hon. William Alsup
17                                                       Location: Courtroom 12, 9th Floor
                                                         Date: March 30, 2023
18                                                       Time: 9:00 a.m.
19

20

21
     I, Alana Evans, hereby declare as follows:
22
            1.      I am a resident of the state of California, and the president of the Adult
23
     Performance Artists Guild (“APAG”), a federally recognized labor union whose goals are "to
24
     earn employee rights, set performer responsibilities, negotiate fair practices, and help performers
25
     provide themselves with a better future.".
26
            2.      I am a plaintiff in the above referenced case, which I bring on behalf of myself and
27
     others similarly situated.
28
            3.      I submit this Declaration in support of Plaintiffs’ Response to the Court’s Order to

     Show Cause Regarding Jurisdiction Over Fenix Defendants.
     Case 3:22-cv-01101-WHA Document 123-17 Filed 02/14/23 Page 2 of 2



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               4.     I make this Declaration based upon my personal knowledge.
 2
               5.     One person I communicated with directly during some of the period of time
 3
     covered by the allegations in this case (including 2019 and 2020) goes by the name of Keni
 4
     Styles, who lived in California for much of the period (and then moved to Thailand), and one of
 5
     his email addresses was keni@onlyfans.com.
 6
               6.     I have known Keni personally for a long time. He used to be an adult performer,
 7
     and he and I have performed together.
 8
               7.     For a long time Keni was living in the Los Angeles area, including at the house of
 9
     Bill Fox, a former part owner of OnlyFans. When Bill died, Keni had to take over part of Bill’s
10
     job at OnlyFans, which is why he suddenly had a lot of responsibility at the business.
11
               8.     I communicated with Keni by text messages through WhatsApp, emails, and
12
     Twitter DMs. His email also lists in signature block his Skype address as “Kenistyles.”
13
               9.     From my work as President of APAG, and communications with Keni, I know that
14
     Darby Castellon (who is based on California) originally worked for Tim Stokes, and Darby was
15
     the go to person for the call center staff. If staff needed questions answered, he answered. He had
16
     managerial powers.
17
               10.    Sarah Wheeler’s name would come up when people were dealing with support
18
     issues.
19
               I declare under penalty of perjury under the laws of the State of California and the United
20
     States of America, that the foregoing is true and correct.
21

22             Dated: February 14, 2023                             /s/________
                                                                    Alana Evans
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